  Case 1:25-cv-00190-JMC            Document 50-1         Filed 06/10/25   Page 1 of 48




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


                                                          )
MAKE THE ROAD NEW YORK, et al.,                           )
                                                          )
                                                          )
                            Plaintiffs,                   )
            v.                                              No. 1:25-cv-00190-JMC
                                                          )
KRISTI NOEM, Secretary of the U.S. Department             )
of Homeland Security, in her official capacity, et al.,   )
                                                          )
                           Defendants.                    )
                                                          )
                                                          )



  PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO POSTPONE
               EFFECTIVE DATE OF AGENCY ACTION
         Case 1:25-cv-00190-JMC                            Document 50-1                  Filed 06/10/25              Page 2 of 48




                                                        TABLE OF CONTENTS
INTRODUCTION .......................................................................................................................... 1
FACTS ............................................................................................................................................ 2
   A.         The Expedited Removal Process. ....................................................................................... 2
   B.         Prior Limited Expansions of Expedited Removal. ............................................................. 5
   C.         Decades of Evidence of Widespread Flaws in the Expedited Removal Process. ............... 6
   D.         The Trump Administration Dramatically Expanded Expedited Removal Without
              Addressing the Flaws of the Existing System..................................................................... 7
   E.         Defendants Are Now Aggressively Pursuing Expedited Removal Pursuant to the Rule
              and Guidance. ..................................................................................................................... 8
LEGAL STANDARD................................................................................................................... 13
ARGUMENT ................................................................................................................................ 13
   I.         Plaintiff Is Likely To Succeed On The Merits. ................................................................. 13
         A.        Plaintiff Is Likely To Prevail On Its Due Process Claim. ............................................. 13
              1.      The Private Interests At Stake Are Of The Utmost Importance. .............................. 16
              2.      The Risk Of Error Is High. ....................................................................................... 18
              3.      The Probable Value Of Additional Safeguards Is High And The Government’s
                      Interests Do Not Outweigh The Need For Them. ..................................................... 26
         B.        Plaintiff Is Likely To Prevail On Its Claim That The Rule and Guidance Violate The
                   Expedited Removal Statute As Interpreted To Require Adequate Procedures............. 29
         C.        Plaintiff Is Likely To Prevail On Its Claim That Expedited Removal Cannot Lawfully
                   Be Applied To Noncitizens In The Interior Based Solely On Lack Of Valid Entry
                   Documents. ................................................................................................................... 34
         D.        Plaintiff Is Likely To Prevail On Its Claim That Expedited Removal Cannot Lawfully
                   Be Applied To Affirmative Asylum Applicants. .......................................................... 37
   II.        Absent Postponement, Plaintiff’s Members Will Suffer Irreparable Harm. ..................... 41
   III. The Balance of Equities and the Public Interest Strongly Favor Postponement of
        Defendants’ Actions.......................................................................................................... 42
CONCLUSION ............................................................................................................................. 44




                                                                           ii
      Case 1:25-cv-00190-JMC             Document 50-1    Filed 06/10/25     Page 3 of 48




                                         INTRODUCTION

       The Supreme Court has “long held”—and recently reaffirmed—that “[t]he Fifth

Amendment entitles aliens to due process of law in the context of removal proceedings,” such that

“no person shall be removed from the United States” without due process, including reasonable

notice and a meaningful opportunity to be heard. A.A.R.P. v. Trump, 145 S. Ct. 1364, 1367 (2025)

(emphasis added) (cleaned up). Defendants’ Rule expanding expedited removal and related

Guidance violate due process because they permit immigration enforcement officers to summarily

remove noncitizens who have already entered the United States with no advance notice, no

opportunity to meaningfully contest removal, and no hearing before a neutral adjudicator.

       Plaintiffs filed this action to challenge the Trump Administration’s expansion of expedited

removal into the interior of the United States, warning of the severe due process violations that

will result from the wholesale application of a process designed for apprehensions and removal at

the border to people who have already entered and been living in the United States for up to two

years. Recent events necessitate emergency relief: In the past weeks, the Trump Administration

has utilized the Rule and Guidance on an unprecedented, national scale to sweep into expedited

removal people who were already undergoing regular removal proceedings before an immigration

judge (“IJ”). With no advance notice to the noncitizens, Defendants are moving for IJs to dismiss

people’s removal proceedings; arresting and detaining people who have appeared for their court

hearings as directed; and placing them in expedited removal proceedings, thereby denying them

any meaningful opportunity to be heard before quickly removing them. This aggressive new

implementation of the Rule and Guidance has sown fear in immigrant communities, as noncitizens

who have been complying with their legal obligations now face the risk of arrest and summary

deportation at their next court dates.


                                                1
     Case 1:25-cv-00190-JMC            Document 50-1        Filed 06/10/25      Page 4 of 48




       Plaintiff Make the Road New York (“Plaintiff” or “Make the Road New York”) files this

motion to prevent the irreparable harm that its members, their families, and the public will suffer

absent postponement of the Rule and Guidance. 1 Defendants’ actions place Plaintiff’s members at

imminent risk of deportation and separation from their families and communities without due

process. If the Rule and Guidance are not stayed, Plaintiff’s members and thousands of noncitizens

like them will be removed in violation of their constitutional and statutory rights. Indeed, even in

its prior and far more limited application at the border, expedited removal already was rife with

errors, resulting in the swift and wrongful deportation of U.S. citizens, lawful permanent residents,

and bona fide asylum seekers, often to countries where they faced persecution, torture, or death.

       Because Plaintiff faces irreparable harm absent a stay, is likely to succeed on the merits of

its claims, and satisfies the other criteria for preliminary relief, this Court should postpone the

effective date of the Rule and Guidance pending final adjudication of this case.

                                              FACTS

A.     The Expedited Removal Process.

       Before 1996, all noncitizens were entitled to full hearings in immigration court before

immigration authorities could deport or exclude them, whether they sought admission at the border

or had already entered the country. They were provided with the opportunity to investigate and

prepare their cases, to retain and rely on the assistance of counsel, and to present and confront

evidence before IJs. They also were entitled to two layers of review: an administrative appeal and

subsequent federal court review. See 8 U.S.C. §§ 1105a, 1252 (1995); 8 C.F.R. § 242.16(a) (1995).




1
 Plaintiffs Mary and John, who were already unlawfully removed under the Rule and Guidance,
do not seek interim relief through this motion.
                                                2
      Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25      Page 5 of 48




       In 1996, Congress enacted the Illegal Immigration Reform and Immigrant Responsibility

Act (“IIRIRA”), which retained full removal hearings as the standard procedure, while also

creating a highly truncated process called “expedited removal.” 8 U.S.C. § 1225(b)(1). IIRIRA

authorized the use of expedited removal for noncitizens seeking admission at ports of entry and

provided for possible future expansion of the procedure to the interior by administrative action,

within certain limits.

       Expedited removal can consist of two stages, although it often concludes after just one:

first, inspection by an immigration officer, including questioning to determine whether a

noncitizen fears removal and, if so, referral for a credible fear interview by an asylum officer; and

second, where applicable, that credible fear interview and an opportunity for IJ review thereof.

When a person applies for admission at a port of entry, the immigration officer must first determine

if they are inadmissible either because they have engaged in fraud or lack a valid entry document

(such as a visa). 8 U.S.C. § 1225(b)(1)(A)(i), (ii) (citing id. § 1182(a)(6)(C), (a)(7)). Someone who

claims to be a U.S. citizen, lawful permanent resident, or refugee, or to have been granted asylum

is entitled to limited additional review. Id. § 1225(b)(1)(C); 8 C.F.R. § 235.3(b)(5). Otherwise, if

the officer concludes that the individual is inadmissible due to fraud or lack of valid entry

documents, the officer “shall” order them removed “without further hearing or review unless the

alien indicates either an intention to apply for asylum . . . or a fear of persecution.” 8 U.S.C. §

1225(b)(1)(A)(i).

       During the inspection stage, the individual is detained and denied the ability to contact or

rely on the assistance of counsel. “Because the person is detained, he or she generally has no way

to gather evidence.” Declaration of Kara Hartzler (“Hartzler Decl.”) ¶ 13. The inspection stage can,

and generally does, begin and conclude in a matter of hours. See Declaration of Timothy Warden-


                                                 3
      Case 1:25-cv-00190-JMC            Document 50-1         Filed 06/10/25       Page 6 of 48




Hertz (“Warden-Hertz Decl.”) ¶ 8 (“People who do not have legal representation can be shuffled

through the process very quickly and may be deported without ever talking to an attorney.”). The

immigration officer’s decision is subject only to a paper review by a supervisor. 8 C.F.R. §

235.3(b)(2)(i), (7). There is no administrative appeal. Id. § 235.3(b)(2)(ii). 2

       For many people, the inspection stage is the beginning and the end of the expedited removal

process. Asylum seekers may gain access to the second stage, which is also flawed and does not

remotely approach the process afforded in regular immigration proceedings. During inspection,

the immigration officer must, in theory, ask the noncitizen whether they fear returning to their

country and intend to apply for asylum. If the answer to either question is yes, the officer must, in

theory, refer the individual for a credible fear interview with an asylum officer. See 8 U.S.C. §

1225(b)(1)(A)(ii), (B); 8 C.F.R. §§ 208.30, 235.3(b)(4). At that interview, the applicant must show

“a significant possibility, taking into account the credibility of the statements made by the alien in

support of the alien’s claim and such other facts as are known to the officer, that the alien could

establish eligibility for asylum.” 8 U.S.C. § 1225(b)(1)(B)(v). Asylum seekers are generally

detained during credible fear interviews, 8 C.F.R. § 235.3(b)(4)(ii), and asylum officers normally

conduct the interviews by phone, Declaration of Hannah Steinberg (“Steinberg Decl.”), Ex. 6

(USCIRF 2025) at 7—even though the officer must evaluate the asylum seeker’s credibility, 8

U.S.C. § 1225(b)(1)(B)(v).

       If the asylum officer determines that a noncitizen meets the credible fear standard, the

individual is placed in regular removal proceedings. Someone who does not pass the credible fear




2
  Federal court review is available only on a petition for habeas corpus where the issues are limited
to whether the petitioner is a citizen; whether he was ordered removed under the statute; or whether
he can prove that he is a lawful permanent resident, has been admitted as a refugee, or has been
granted asylum. 8 U.S.C. § 1252(a)(2)(A), (e)(2).
                                                   4
     Case 1:25-cv-00190-JMC            Document 50-1        Filed 06/10/25     Page 7 of 48




interview may request review by an IJ, but receives only a limited hearing and has no right to

further    administrative   or   judicial   review.   8   U.S.C.   §§   1225(b)(1)(B)(iii)(II)-(III),

1252(a)(2)(A)(iii).

          B.     Prior Limited Expansions of Expedited Removal.

          Congress authorized the Attorney General to expand the application of expedited removal

beyond its initial scope. At its maximum, the congressional authorization encompasses certain

noncitizens who were not lawfully admitted or paroled into the country and not continuously

physically present for at least two years. 8 U.S.C. § 1225(b)(1)(A)(iii)(II). But Congress specified

that the Attorney General (or, now, the Secretary of the Department of Homeland Security

(“DHS”)) must affirmatively designate the scope of any expansion of expedited removal before

she can subject new groups of noncitizens to these truncated procedures. Id. § 1225(b)(1)(A)(iii)(I).

For twenty years, the government chose not to expand expedited removal to its statutory limits,

and at least one prior administration rejected such an extreme expansion because of concerns it

would be illegal. See Steinberg Decl., Ex. 11 (USA Today, Feb. 24, 2017).

          Instead, the government made only two much more modest expansions. In 2002, it

authorized expedited removal to be used on a narrow group of people within the United States who

had arrived by sea and were not continuously present for two years. 67 Fed. Reg. 68,924, 68,925-

26 (Nov. 13, 2002). In 2004, it permitted the use of expedited removal on people apprehended

within 100 air miles of a land border who could not show that they had been physically present in

the United States for 14 days. 69 Fed. Reg. 48,877, 48,880-81 (Aug. 11, 2004). With only minor

exceptions, the government has largely used expedited removal at and near the border.




                                                  5
      Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25       Page 8 of 48




       C.      Decades of Evidence of Widespread Flaws in the Expedited Removal Process.

       Nearly three decades of expedited removal have shown the process to be profoundly flawed,

even when restricted to the border. Since 2005, a series of studies undertaken at Congress’s

direction by the statutorily-established U.S. Commission on International Religious Freedom

(“Commission” or “USCIRF”) 3 has repeatedly documented “serious problems” in the expedited

removal process. Steinberg Decl., Ex. 4 (USCIRF 2005) at 4-5, 10; see id., Ex. 5 (USCIRF 2016)

at 2 (finding “continuing and new concerns” with immigration officers’ “interviewing practices

and the reliability of the records they create” as well as “inadequate quality assurance procedures”);

id., Ex. 6 (USCIRF 2025) at 3 (concluding that “many of the problems [the Commission] has

repeatedly documented,” “including flawed screening and documentation practices, [and] a lack

of training and quality control,” still “remain unaddressed”); see also Declaration of Yael Schacher

(“Schacher Decl.”) ¶ 5.

       As set forth in detail below, each stage of expedited removal is rife with errors that are left

unaddressed due to the lack of a meaningful opportunity to consult with an attorney, the lack of

review by a neutral adjudicator, and other procedural deficiencies. See infra, Argument Section

I.A. At the inspection stage, immigration enforcement officers routinely make factual errors that

result in erroneous expedited removal orders. This has included repeated mistakes even in applying

the much narrower 14-day continuous presence requirement. Immigration officers have also

repeatedly applied expedited removal to U.S. citizens and others not lawfully subject to the process.

Legal service providers report systemic interpretation and translation failures throughout the

process. Immigration officers routinely ignore or fail to record noncitizens’ expressions of fear of


3
  See 22 U.S.C. § 6474 (authorizing study); see also H.R. Rep. No. 105-480, pt. 3, at 17 (1998)
(recognizing that immigration officers “may not always be following [agency] procedures
designed to ensure that potential asylum claimants are properly referred” for interviews).
                                                6
      Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25      Page 9 of 48




removal, denying them the opportunity for credible fear interviews. And the credible fear interview

process itself is often rushed and unfair. See id.

       D.      The Trump Administration Dramatically Expanded Expedited Removal
               Without Addressing the Flaws of the Existing System.

       The expedited removal system was flawed when applied to the more limited class of

noncitizens apprehended near the border. Nonetheless, in July 2019, at the direction of President

Trump, DHS authorized the application of expedited removal to certain noncitizens arrested

anywhere in the country who could not show that they had been continuously present in the United

States for at least two years. 84 Fed. Reg. 35,409 (“2019 Rule”). Then-Judge Jackson preliminarily

enjoined the 2019 Rule on the grounds that the Secretary failed to follow the notice-and-comment

and reasoned-decisionmaking requirements of the Administrative Procedure Act (“APA”). Make

the Rd. N.Y. v. McAleenan, 405 F. Supp. 3d 1, 11 (D.D.C. 2019). The D.C. Circuit reversed the

district court’s grant of the preliminary injunction on appeal and remanded the case so that the

district court could consider other grounds on which the 2019 Rule had been challenged. Make the

Rd. N.Y. v. Wolf, 962 F.3d 612, 618 (D.C. Cir. 2020).

       On February 2, 2021, President Biden issued an Executive Order that directed the DHS

Secretary to review the 2019 Rule and consider, inter alia, due process principles and humanitarian

obligations. Exec. Order 14010, 86 Fed. Reg. 8,267 (Feb. 5, 2021). 4 On March 21, 2022, DHS

rescinded the 2019 Rule. 87 Fed. Reg. 16,022 (Mar. 21, 2022). During the period the 2019 Rule

was in effect, the government used it in an “exceedingly small number of cases.” Steinberg Decl.,

Ex. 13 (Buzzfeed News, Oct. 14, 2021).


4
 In light of the Executive Order, the district court stayed its consideration of a renewed motion for
preliminary injunction challenging the 2019 Rule on grounds not addressed by the vacated
preliminary injunction decision. Minute Order, Make the Rd. N.Y. v. McAleenan, 1:19-cv-2369-
KBJ (D.D.C. Feb. 8, 2021).
                                                   7
       Case 1:25-cv-00190-JMC           Document 50-1       Filed 06/10/25     Page 10 of 48




          On January 20, 2025, President Trump issued Executive Order 14159. 90 Fed. Reg. 8,443.

Consistent with the President’s goal of rapidly deporting millions of immigrants, the Executive

Order directed the DHS Secretary to “take all appropriate action” to apply expedited removal

procedures “to the aliens designated under” 8 U.S.C. § 1225(b)(1)(A)(iii)(II). 90 Fed. Reg. at 8,445.

          On January 21, 2025, DHS issued a notice, effective immediately, that authorizes

application of expedited removal to certain noncitizens arrested anywhere in the country who

cannot show “to the satisfaction of an immigration officer” that they have been continuously

present in the United States for at least two years. 90 Fed. Reg. 8,139 (“Rule”). 5

          On January 23, 2025, the Acting DHS Secretary issued a memorandum entitled “Guidance

Regarding How to Exercise Enforcement Discretion” to implement the Rule. Steinberg Decl., Ex.

2 (“Guidance”). The Guidance directs DHS officers to consider “whether to apply expedited

removal” to “any alien DHS is aware of who is amenable to expedited removal but to whom

expedited removal has not been applied.” Id. at 2. The Guidance authorizes officers to place

individuals with pending asylum applications into expedited removal. See id. The Guidance further

directs that applying expedited removal “may include steps to terminate any ongoing [regular]

removal proceeding.” Id.

          Neither the Rule nor the Guidance, nor any other policies Defendants have instituted,

address the existing flaws in the expedited removal system.

          E.     Defendants Are Now Aggressively Pursuing Expedited Removal
                 Pursuant to the Rule and Guidance.

          For the first three months after the expansion of expedited removal into the interior,

Defendants appear to have been slow to implement their new authority, and Plaintiffs learned of




5
    The Rule is also attached as Exhibit 1 to the Steinberg Declaration.
                                                    8
     Case 1:25-cv-00190-JMC          Document 50-1         Filed 06/10/25     Page 11 of 48




only a handful of applications of expedited removal in the interior. That has now dramatically

changed: Defendants are aggressively placing people in expedited removal pursuant to the Rule

and Guidance.

       In the past weeks, Defendants have undertaken an aggressive new enforcement initiative

at immigration courts in New York and nationwide. This initiative specifically targets people who

are in regular removal proceedings in immigration court, many of whom are pursuing asylum and

other relief. See generally Steinberg Decl., Ex. 16 (N.Y. Times, May 30, 2025); id., Ex. 17 (Wash.

Post, May 23, 2025). The initiative has three basic components. First, DHS is orally moving to

dismiss noncitizens’ removal proceedings, with no advance notice, when people appear in

immigration court for master calendar hearings (the equivalent of arraignments or pretrial

conferences in criminal court), on the grounds that such proceedings are no longer in the best

interests of the government under 8 C.F.R § 239.2(a)(7). 6 DHS is doing so even though the

government’s own Immigration Court Practice Manual requires that “filings must be submitted at

least fifteen (15) days in advance of the master calendar hearing if requesting a ruling at or prior

to the hearing.” Steinberg Decl., Ex. 38 (Exec. Off. For Immigr. Review 2025); see also Koop

Decl. ¶ 8. Despite that requirement, the Department of Justice issued written instructions to

immigration judges stating that they may allow the government to move to dismiss orally, in court,

without a written motion, and to decide that motion without allowing the noncitizen an opportunity

to file a response. Dojaquez-Torres Decl. ¶ 9 & Ex. A.


6
  See Declaration of Vanessa Dojaquez-Torres (“Dojaquez-Torres Decl.”) ¶ 3 (nationwide);
Declaration of Gillian Rowland-Kain (“Rowland-Kain Decl.”) ¶¶ 5, 8 (Varick Street and
Broadway Immigration Courts in New York City and Buffalo Immigration Court); Declaration of
Rosanna Eugenio (“Eugenio Decl.”) ¶¶ 7, 10 (Federal Plaza Immigration Court in New York City);
Declaration of Lisa Koop (“Koop Decl.”) ¶¶ 6-7 (Chicago Immigration Court); Declaration of
Audrey Gilliam (“Gilliam Decl.”) ¶ 4 (Seattle Immigration Court); Declaration of Edna Yang
(“Yang Decl.”) ¶ 15 (San Antonio Immigration Court).
                                              9
     Case 1:25-cv-00190-JMC          Document 50-1        Filed 06/10/25      Page 12 of 48




        Second, ICE officers, in coordination with DHS trial attorneys, are stationing themselves

in immigration courts—in the hallways or even in courtrooms—so that they can ambush

noncitizens, immediately arresting and detaining them upon the conclusion of their court

hearings. 7

        Finally, in cases where IJs have granted the government’s motions to dismiss, the

government has placed individuals in expedited removal—and, in some cases, deported people

within a matter of days. See, e.g., Declaration of Sienna Fontaine (“Fontaine Decl.”) ¶¶ 35, 38

(explaining how noncitizens detained in immigration court were quickly moved out of New York

City and toward deportation, such that, for example, “an individual detained in a New York City

court on May 21 . . . had already been deported when a paralegal at [Make the Road New York]

attempted to locate him . . . [on] May 27”); Declaration of William Botsch (“Botsch Decl.”) ¶ 4

(explaining how, following their recent courthouse arrests, multiple noncitizens no longer

appeared on the detainee locator system, indicating that they had most likely been removed, and

one man’s family confirmed that he had already been removed to Venezuela just days after being

detained and placed in expedited removal).

        This initiative is unprecedented. See, e.g., Declaration of Rachel Levenson (“Levenson

Decl.”) ¶ 5 (in seven years of practice in immigration court, attorney had only once heard of an

arrest there). This new initiative appears to be driven by the Trump administration’s imposition of

a new daily quota of 3,000 ICE arrests. See Steinberg Decl., Ex. 19 (Fox News, May 29, 2025);




7
  See Steinberg Decl., Ex. 16 (N.Y. Times, May 30, 2025) (describing coordination policy);
Eugenio Decl. ¶ 12 (describing how plainclothes ICE officers “swarmed” noncitizens near
courthouse elevator); Rowland-Kain Decl. ¶ 16 (arrests in the elevator of New York immigration
court); Koop Decl. ¶¶ 7, 10 (arrests in hallway of Chicago Immigration Court); Gilliam Decl. ¶ 4
(arrests in hallway of Seattle Immigration Court); Yang Decl. ¶ 16 (arrests in hallway, lobby, and
parking lot of San Antonio Immigration Court).
                                                10
     Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25      Page 13 of 48




see also id., Ex. 20 (Axios, May 28, 2025). Moreover, DHS has confirmed publicly that they are

targeting people they believe are subject to the Rule and Guidance in order to move them from

regular removal proceedings to expedited removal. See id., Ex. 18 (Bill Melugin, May 22, 2025).

       Despite their stated intentions, Defendants are nonetheless sweeping up people who are

statutorily ineligible for expedited removal because they have been present in the U.S. for over

two years. See, e.g., Levenson Decl. ¶¶ 23-24 (detention of noncitizen who had been present for

over two years); Pet. for Writ of Habeas Corpus, ECF No. 1, Castillo Lachapel v. Joyce, No. 25-

cv-4693 (S.D.N.Y. June 4, 2025) (same); Pet. for Writ of Habeas Corpus, ECF No. 1, Rojas

Figuera v. Larocco, No. 25-cv-3095 (E.D.N.Y. June 4, 2025) (same).

       Defendants are even targeting people who have pending applications for relief, including

for asylum. See Levenson Decl. ¶¶ 7, 18-24, 32-33 (detention of man whose partner was 8 months

pregnant and who had applied for asylum, gay couple who feared persecution, asylum seeker

married to a U.S. citizen, and 19-year-old who appears eligible for Special Immigrant Juvenile

Status (“SIJS”) and asylum due to fear of persecution); Declaration of Andres Cortes (“Cortes

Decl.”) ¶ 8 (motion to dismiss and detention of noncitizens who had asylum applications pending

and expressed fear of return); Declaration of Siomara Umana (“Umana Decl.”) ¶ 8 (same); Eugenio

Decl. ¶¶ 9, 13 (same, as well as detention of a 20-year-old noncitizen eligible for SIJS).

       The government’s new policy has already deterred people from attending their removal

proceedings. See Koop Decl. ¶ 16 (“The ICE arrests—as well as the noticeable presence of ICE

agents near the entrance to and in the hallways outside of the Immigration Court—appear to have

already caused people to miss their Immigration Court hearings”); Rowland-Kain Decl. ¶ 17 (“[I]n

prior months . . . between forty to sixty pro se individuals [would appear each day at] Master

Calendar Hearings; however, on May 29th, there were merely seven individuals and family units


                                                11
     Case 1:25-cv-00190-JMC          Document 50-1        Filed 06/10/25      Page 14 of 48




who appeared.”); Gilliam Decl. ¶¶ 24-26 (“unusually large number of in absentia removal orders”

in days following courthouse arrests). Practitioners “have never witnessed this level of fear among

immigrant clients in [their] years practicing immigration law.” Rowland-Kain Decl. ¶ 17; Gilliam

Decl. ¶ 26 (“The level of fear and distress expressed by immigrant community members . . . is

unlike anything that I have seen in more than ten years of practicing immigration law.”).

       The government is systematically pursuing its new initiative in New York. See Rowland-

Kain Decl. ¶ 8; Eugenio Decl. ¶¶ 7, 10. As a result—absent this Court’s intervention—Plaintiff

Make the Road New York’s members with scheduled court dates in New York’s immigration

courts face the imminent risk of being placed in expedited removal and deported from the United

States without due process. See Fontaine Decl. ¶¶ 19-26, 29 (“[T]he campaign to target individuals

attending their immigration court proceedings for placement into expedited removal and detention

by ICE has sent shock waves through Make the Road New York’s members and the communities

that we serve”); see also Fontaine Decl., Ex. A (Declaration of MRNY-John Doe 4 (“John Doe 4

Decl.”)) ¶ 4 (member whose case DHS attempted to dismiss); id., Ex. B (Declaration of MRNY-

Jane Doe 2 (“Jane Doe 2 Decl.”)) ¶ 4 (member in removal proceedings who fears placement into

expedited removal).

       In the first week of June, Defendants also launched a series of workplace raids reflecting

yet another “new phase of the Trump administration’s immigration crackdown.” Steinberg Decl.,

Ex. 37 (N.Y. Times, June 7, 2025). White House “border czar” Thomas D. Homan told reporters:

“You’re going to see more work site enforcement than you’ve ever seen in the history of this

nation.” Id. A DHS spokesperson stated that “2,000 immigrants per day were arrested” during the

first week in June. Id. It is therefore a near-certainty that even more people will be placed in

expedited removal pursuant to the Rule and Guidance.


                                                12
     Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25      Page 15 of 48




                                      LEGAL STANDARD

       The APA authorizes district courts to “postpone” agency actions “to the extent necessary

to prevent irreparable injury.” 5 U.S.C. § 705. “Courts—including the Supreme Court—routinely

stay already-effective agency action under Section 705.” Texas v. Biden, 646 F. Supp. 3d 753, 770

(N.D. Tex. 2022) (citing, inter alia, West Virginia v. EPA, 577 U.S. 1126 (2016) (mem. op.)). To

obtain relief under § 705, Plaintiff must show that (1) it will likely succeed on the merits, (2) it

will likely suffer irreparable harm in the absence of preliminary relief, (3) the balance of equities

tips in its favor, and (4) postponement is in the public interest. Cath. Legal Immigr. Network, Inc.

v. EOIR, 513 F. Supp. 3d 154, 166 (D.D.C. 2021).

                                          ARGUMENT

I.     Plaintiff Is Likely To Succeed On The Merits.

       Plaintiff is likely to succeed on the merits of the four claims on which it bases this motion.

First, the Rule and Guidance likely violate the due process rights of the noncitizens they newly

subject to expedited removal. Second, the policies likely violate the expedited removal statute

because they fail to provide the minimally adequate procedures the statute requires, as properly

interpreted to avoid that serious constitutional question. Third, the Rule and Guidance likely

violate the statute in a second respect, because the statute does not authorize the expedited removal

of noncitizens who have already entered the United States on the basis that they lack valid entry

documents. Fourth, the Guidance likely violates the regulations implementing the asylum statute,

which do not permit the application of expedited removal to affirmative asylum applicants.




                                                 13
     Case 1:25-cv-00190-JMC          Document 50-1        Filed 06/10/25      Page 16 of 48




        A.       Plaintiff Is Likely To Prevail On Its Due Process Claim.

       “Procedural due process rules are meant to protect against the mistaken or unjustified

deprivation of life, liberty, or property.” A.A.R.P., 145 S. Ct. at 1367 (cleaned up). Indeed, the

Supreme Court has “long held that ‘no person shall be’ removed from the United States ‘without

opportunity, at some time, to be heard.’” Id. (quoting Yamataya v. Fisher, 189 U.S. 86, 101 (1903)).

       The Rule and Guidance violate the fundamental due process rights—to meaningful notice

and the opportunity to a fair hearing before a neutral decisionmaker—of people who have already

entered the United States and therefore have a strong liberty interest in avoiding removal from the

country. The Rule expands expedited removal far beyond its previous limits—individuals who,

like the petitioner in DHS v. Thuraissigiam, were apprehended soon after crossing the border and

thus could not “be said to have ‘effected an entry.’” 591 U.S. 103, 140 (2020). The expansion

challenged here applies to people who have effected physical entry and have been present in the

United States for up to two years.

       The due process rights of the people to whom the Rule and the Guidance applies require

far more than the Rule provides. There is no advance notice of the charges or of the government’s

evidence. See 8 C.F.R. § 235.3(b)(2)(1)(ii) (notice of charges are issued at the same time and on

the same form as expedited removal order); Steinberg Decl., Ex. 40 (Sample DHS Form I-860).

But due process requires that “notice must be afforded within a reasonable time and in such manner

as will allow [noncitizens] to actually seek . . . relief.” Trump v. J.G.G., 145 S. Ct. 1003, 1006

(2025); see also Mullane v. Central Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950) (notice

must “apprise interested parties of the pendency of the action and afford them an opportunity to

present their objections” and “must be of such nature as reasonably to convey the required

information”).


                                                14
     Case 1:25-cv-00190-JMC            Document 50-1        Filed 06/10/25      Page 17 of 48




          The process places the burden on the noncitizen rather than the government, 8 U.S.C. §

1225(b)(1)(A)(iii)(II); 8 C.F.R. § 235.3(b)(1)(ii), (6)—an inversion of the burden required when

stakes are so high. Cf. Santosky v. Kramer, 455 U.S. 745, 763 (1982) (holding that state should

bear heightened proof burden in parental neglect proceedings because, inter alia, its “ability to

assemble its case almost inevitably dwarfs the parents’ ability to mount a defense”).

          The government is not required to permit noncitizens time to hire a lawyer or seek the

assistance of any third party. Cf. Ardestani v. I.N.S., 502 U.S. 129, 138 (1991) (explaining that “the

complexity of immigration procedures, and the enormity of the interests at stake, make legal

representation in deportation proceedings especially important”).

          Finally, there is no neutral adjudicator, but rather only a determination by an immigration

enforcement officer who serves as both prosecutor and judge. See 8 C.F.R. § 235.3(b)(2)(ii); see

also Statewide Bonding, Inc. v. DHS, 980 F.3d 109, 119 (D.C. Cir. 2020) (“The Due Process

Clause entitles a person to an impartial and disinterested adjudicator.”) (cleaned up). And while

claims to certain lawful status and negative credible fear determinations can be reviewed by IJs,

other key issues—including removability, continuous presence, and whether a noncitizen fears

removal at all—are conclusively determined by enforcement officers with no possibility for IJ

review.

          Each of these deficits, on its own, would render application of the expedited removal

process to people already within the United States unconstitutional. Together, they amount to a

complete deprivation of the fundamental right to a full and fair hearing. The need for these

procedural protections is demonstrated by the expedited removal system’s track record in its past

use at and near the border. See infra, Argument, Section I.A.2. But even without the ample




                                                  15
     Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25      Page 18 of 48




evidence of those errors, the system is unconstitutional as applied to people in the interior of the

United States. 8

        Courts weigh three factors when determining what process is due: the private interests at

stake; the risk of erroneous deprivation and probable value of additional safeguards; and the

government’s countervailing interests. Mathews v. Eldridge, 424 U.S. 319, 335 (1976). Each of

these factors points in the same direction: The expansion of expedited removal to people who have

already entered the United States and been in the country for up to two years violates due process.

                   1.   The Private Interests At Stake Are Of The Utmost Importance.

        The private liberty interests of Make the Road New York’s members and others newly

subject to expedited removal are of paramount importance. The Supreme Court has repeatedly

held that the removal of people from within the United States implicates a “weighty” liberty

interest. Landon v. Plasencia, 459 U.S. 21, 34 (1982); see Bridges v. Wixon, 326 U.S. 135, 164

(1945) (Murphy, J., concurring) (“[D]eportation . . . may result in poverty, persecution, and even

death.”); Ng Fung Ho v. White, 259 U.S. 276, 284 (1922) (Deportation “may result . . . in loss of

both property and life, or of all that makes life worth living”); see also Ardestani, 502 U.S. at 138




8
  Plaintiff relies on declarations and other evidence to support its constitutional and statutory
claims. In APA cases, “when a constitutional challenge to agency action requires evaluating the
substance of an agency’s decision made on an administrative record, that challenge must be judged
on the record before the agency.” Bellion Spirits, LLC v. United States, 335 F. Supp. 3d 32, 43
(D.D.C. 2018), aff’d, 7 F.4th 1201 (D.C. Cir. 2021). However, the record rule does not apply
where a challenge does not require such an evaluation. See id.; see also McKoy v. Spencer, No.
16-cv-1313 (CKK), 2019 WL 400615, at *11 (D.D.C. Jan. 31, 2019). Here, Plaintiff seeks interim
relief on the grounds that the Rule and Guidance violate its members’ due process and statutory
rights and subject them to expedited removal in violation of the INA and its implementing
regulations. These claims do not ask the Court to evaluate the substance of the Secretary’s decision
to expand expedited removal based on an administrative record (if any such record exists). Nor
could Plaintiff seek relief based on such a record-based challenge, which the D.C. Circuit has held
is unavailable. See Make the Rd. N.Y., 962 F.3d at 631-34 (holding that prior expansion could not
be challenged as arbitrary and capricious).
                                                 16
     Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25         Page 19 of 48




(acknowledging “the enormity of the interests at stake” in immigration proceedings). The stakes

are even higher for people who fear persecution, torture, or death if removed. See INS v. Cardoza-

Fonseca, 480 U.S. 421, 449 (1987) (“Deportation is always a harsh measure; it is all the more

replete with danger when the [noncitizen] makes a claim that he or she will be subject to death or

persecution if forced to return to his or her home country.”); accord, e.g., Kaweesa v. Gonzales,

450 F.3d 62, 69 (1st Cir. 2006) (a noncitizen “seeking asylum or protection under the Convention

Against Torture . . . clearly has a weighty interest in avoiding deportation”).

       People being subjected to the Rule and Guidance—including in courthouses across the

nation—illustrate these weighty liberty interests. For example, many people subjected to

courthouse arrests have pending asylum applications and a fear of persecution; others have U.S.

citizen children and spouses. See, e.g., Levenson Decl. ¶¶ 18-24 (courthouse arrests of asylum

seeker married to a U.S. citizen who had been present for three years, asylum seeker whose partner

was 8 months pregnant, and gay couple who feared persecution); Cortes Decl. ¶ 8 (courthouse

arrests of noncitizens who had asylum applications pending and expressed fear of return); Umana

Decl. ¶ 8 (same); Eugenio Decl. ¶ 9 (same); Dojaquez-Torres Decl. ¶ 11 (detainees include families

with children as young as two and three years old, and ICE attempted to detain a mother with a

nursing infant); Yang Decl. ¶ 16 (detention of “whole family units, including adults and their minor

children”).

       Make the Road New York’s members are no exception; they include John Does 1, 2, 3,

and 4, and Jane Does 1 and 2, all of whom had been living in the United States for between 15 and

20 months when the amended complaint was filed, and some of whom have asylum applications

pending. See Fontaine Decl. ¶¶ 19-26; id., Ex. A (John Doe 4 Decl.) ¶¶ 2-3; id., Ex. B (Jane Doe

2 Decl.) ¶ 2. Make the Road New York “also has numerous members” who have lived in the


                                                 17
     Case 1:25-cv-00190-JMC            Document 50-1        Filed 06/10/25       Page 20 of 48




country for longer than two years, but “would have difficulty affirmatively demonstrating two

years of physical presence, particularly if suddenly detained or given only a short period of time

to do so.” Id. ¶ 41.

        Plaintiffs Mary and John further illustrate the grave liberty interests at stake. They lived in

the United States for ten years before being erroneously subjected to expedited removal under the

Rule and Guidance. See Declaration of Mary (“Mary Decl.”) ¶¶ 3, 8-11. Mary also has two U.S.-

citizen children who remain in the United States. Id. ¶ 7. Already, therefore, the Rule has deprived

Mary and John of residing with other members of their “immediate family, a right that ranks high

among the interests of the individual.” Landon, 459 U.S. at 34.

                2.     The Risk Of Error Is High.

        The procedural deficiencies inherent in the expedited removal system make the risk of

erroneous deprivation unacceptably high. The “troubling reality” is that expedited removal is

“fraught with risk of arbitrary, mistaken, or discriminatory behavior” and can occur “without any

check on whether the person understood the proceedings, had an interpreter, or enjoyed any other

safeguards.” Khan v. Holder, 608 F.3d 325, 329 (7th Cir. 2010). Indeed, the risk of error is already

high when expedited removal is applied to people at the border or to people accused by

immigration officers of having very recently crossed it, but at least in those situations, the factual

predicates of expedited removal are typically straightforward. By contrast, by applying expedited

removal to people who have entered and are living in this country, and for whom the answers to

key questions like length of residence are far from obvious, the Rule and Guidance create a

constitutionally intolerable removal system.

        First, there is an unacceptable risk of error in the threshold determination concerning

continuous presence in the United States. A person placed in expedited removal receives no


                                                  18
     Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25      Page 21 of 48




advance notice of either the government’s charges or its evidence. See 8 C.F.R. § 235.3(b)(2)(1)(ii)

(notice of charges are issued at the same time and on the same form as expedited removal order);

Steinberg Decl., Ex. 40 (Sample DHS Form I-860). At the same time, that person “bears the

affirmative burden to show to the satisfaction of an immigration officer that [they have] been

present in the United States continuously for” two years or more. 90 Fed. Reg. at 8,140. DHS

officers therefore can presume, without evidence, that any individual they arrest is properly subject

to expedited removal. However, the “vast majority” of undocumented immigrants in this country

have been living here for longer than two years. Steinberg Decl., Ex. 30 (DHS 2024) (estimating

that 79 percent of the undocumented population as of 2022 “entered before 2010”); see also id.,

Ex. 14 (Ctr. for Migration Studies 2022) (estimating that, as of 2022, less than 12.4% of the

undocumented population present for less than two years had entered without inspection).

       There is no requirement that noncitizens be permitted an opportunity to gather and present

evidence bearing on their continuous presence. See 8 C.F.R. § 235.3(b)(1)(ii); cf. id. § 235.3(b)(6)

(providing that the noncitizen “will be allowed to present evidence or provide sufficient

information to support” a claim of prior admission or parole). The Rule and Guidance do not even

require that noncitizens be provided an opportunity to make a phone call to a friend or family

member who can help them, or reasonable time to gather evidence. Cf. Khan, 608 F.3d at 326

(neither petitioner’s counsel nor family “had been permitted to speak to him” while he was in

expedited removal proceedings). Moreover, the government’s practices effectively preclude a

meaningful opportunity to gather such evidence, to prepare for the inspection by the immigration

officer, or any right or time to obtain counsel. See, e.g., Schacher Decl. ¶ 15 (describing a

noncitizen denied an opportunity to rebut discrepancies and adverse facts caused by translation in




                                                 19
     Case 1:25-cv-00190-JMC           Document 50-1           Filed 06/10/25   Page 22 of 48




the wrong dialect). Nor is there any opportunity for a neutral adjudicator, such as an IJ, to review

the question of continuous presence. Id. § 235.3(b)(2)(ii).

          These procedural deficiencies, combined with the Rule’s scope, make the risk of error

unacceptable. Even in applying the prior 14-day continuous presence requirement, egregious errors

occurred. See, e.g., Steinberg Decl., Ex. 7 (ACLU 2014) at 63 (describing erroneous expedited

removal of Mexican citizen who had lived in the United States for 14 years); Koop Decl. ¶¶ 27-29

(describing erroneous expedited removal of Honduran citizen who had lived in the United States

for more than a decade); Declaration of Joanna Delfunt (“Delfunt Decl.”) ¶¶ 7-10 (describing

expedited removal order against individual who previously had not left the United States for three

years).

          Proving at least two years of continuous physical presence, while detained, alone, and

without any opportunity to gather evidence, would be challenging for a U.S. citizen or lawful

permanent resident, let alone for an undocumented person who may lack credit cards in their name

or an identification document with a sufficiently early issue date. See, e.g., Fontaine Decl. ¶¶ 41-

43; Steinberg Decl., Ex. 15 (United States Citizenship and Immigration Services (USCIS) Form I-

821D, Jan. 2025) (listing school records, employment records, bills, and military records as

examples of documents to show continuous presence). For example, young people who came to

this country as children may not have proof of physical presence easily accessible to them, or that

evidence may be held by family members, whom they cannot contact while detained pending

expedited removal proceedings. Fontaine Decl. ¶ 42. Even those who can locate such documents

often will not physically have them at the time of apprehension. Id. ¶¶ 18, 41-43; see also

Declaration of Holly Cooper ¶¶ 6-7 (explaining that detention centers do not provide confidential

emails, fax, or other means of receiving documents other than mail, which takes 5-10 days to reach


                                                20
     Case 1:25-cv-00190-JMC          Document 50-1       Filed 06/10/25      Page 23 of 48




detained clients). In addition, Make the Road New York has transgender members who recently

changed their legal names, meaning that much of their proof of presence may be in a different

name. Fontaine Decl. ¶ 41. In the absence of any meaningful, neutral review, there is no

requirement that officers even document that contrary evidence was received, consider such

evidence, or accurately weigh it in consideration of duration of continuous presence.

       Without adequate due process protections, people who should not be subject to expedited

removal at all—people like Plaintiffs Mary and John, who have lived in the United States for

years—have already been and will continue to be erroneously removed. See, e.g., Mary Decl. ¶¶

2-12; Pet. for Writ of Habeas Corpus, ECF No. 1, Castillo Lachapel v. Joyce, No. 25-cv-4693

(S.D.N.Y. June 4, 2025) (person present for more than two years issued expedited removal order);

Pet. for Writ of Habeas Corpus, ECF No. 1, Rojas Figuera v. Larocco, No. 25-cv-3095 (E.D.N.Y.

June 4, 2025) (same); Domingo-Ros v. Archambeault, No. 25-cv-1208-DMS-DEB, 2025 WL

1425558, at *3 (S.D. Cal. May 18, 2025) (same); Delfunt Decl. ¶¶ 7-10 (noncitizens who had been

present for over two years challenged expedited removal order on grounds they were not afforded

an adequate process or representation by an attorney); see also Steinberg Decl., Ex. 7 (ACLU

2014) at 63 (noncitizen who had been living in United States continuously for 14 years wrongly

subjected to expedited removal and denied a hearing).

       Second, the same procedural deficiencies in the expedited removal process create a high

risk of error in making the other threshold determinations about whether people are subject to

expedited removal at all: whether someone has previously been admitted or paroled; whether they

are inadmissible on grounds that make them subject to expedited removal; and whether they are

ineligible for expedited removal because they are a U.S. citizen, lawful permanent resident, a

refugee, or an asylee. Low-level officers decide these issues based on cursory interviews and


                                               21
     Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25      Page 24 of 48




records checks. 90 Fed. Reg. at 8,139; 8 U.S.C. §§ 1225(b)(1)(A)(i), (iii); 8 C.F.R. §§

235.3(b)(1)(i)-(ii), (b)(5). And officers have made recurring errors in these determinations even in

the much more limited application of expedited removal at the border. Perhaps most egregiously,

officers have even made errors in determining U.S. citizenship. See Lyttle v. United States, 867 F.

Supp. 2d 1256, 1272-73 (M.D. Ga. 2012) (U.S. citizen erroneously issued expedited removal order

without counsel); Steinberg Decl., Ex. 10 (Habeas Petition, De la Paz v. Johnson, No. 1:14-cv-16

(S.D. Tex., Jan. 24, 2014) (U.S. citizen erroneously subjected to expedited removal); Matter of

Lujan-Quintana, 25 I. & N. Dec. 53, 54 (BIA 2009) (expedited removal order issued against U.S.

citizen); Steinberg Decl., Ex. 8 (L.A. Times, Sept. 3, 2000) (expedited removal of U.S. citizen who

was questioned by herself without counsel). Inspecting officers also routinely make errors in

identifying unaccompanied minors, who by statute cannot be placed in expedited removal. 8 U.S.C.

§ 1232(a)(2)(B), (5)(D); see Hartzler Decl. ¶ 12 (“officers are often unable or unwilling to identify

people who are juveniles”).

       Someone claiming U.S. citizenship, lawful permanent residence, or status as a refugee or

asylee can in theory seek IJ review of those claims after an immigration enforcement officer issues

an expedited removal order. See 8 U.S.C. § 1225(b)(1)(C). But unrepresented and detained people

may have difficulty proving their status, as claims of lawful status can be complex and difficult to

articulate. And, as noted above, the government is not required to provide noncitizens facing

expedited removal with time or an opportunity to obtain counsel or the assistance of a third party.

See United States v. Ochoa-Oregel, 904 F.3d 682, 685-86 (9th Cir. 2018) (addressing noncitizen

subjected to expedited removal, despite claim that prior deportation did not extinguish his lawful

permanent resident status). As the Supreme Court recently emphasized, the theoretical ability to




                                                 22
     Case 1:25-cv-00190-JMC          Document 50-1         Filed 06/10/25     Page 25 of 48




access review does not alone satisfy due process; the access must be real. A.A.R.P., 145 S. Ct. at

1368; J.G.G., 145 S. Ct. at 1006.

       Third, due to the lack of procedural protections there is a well-documented risk of error in

immigration enforcement officers’ interviewing and documentation practices throughout the

inspection process. This risk underscores the importance of review by a neutral adjudicator.

USCIRF’s 2005 study of the expedited removal system concluded that the statements officers take

from noncitizens are “often inaccurate.” Steinberg Decl., Ex. 4 (USCIRF 2005) at 74; see also id.

at 53 (same, with respect to forms). The Commission’s 2016 study “revealed continuing and new

concerns” with immigration officers’ “interviewing practices and the reliability of the records they

create.” Id., Ex. 5 (USCIRF 2016) at 2. And its 2025 study found that “many of the problems it

has repeatedly documented,” “including flawed screening and documentation practices,” “remain

unaddressed.” Id., Ex. 6 (USCIRF 2025) at 3; Schacher Decl. ¶ 5. Often immigration officers do

not even permit noncitizens to review their sworn statements; 9 they consistently fail to give

noncitizens an opportunity to review and respond to the statements in the required paperwork; 10

and, even worse, they routinely pressure or coerce noncitizens into signing documents. 11 These




9
  See, e.g., United States v. Ochoa-Quinones, 489 F. Supp. 3d 1184, 1187-88 (E.D. Wash. 2020)
(concluding that failure to allow noncitizen to review statement violated due process); United
States v. Guzman-Hernandez, 487 F. Supp. 3d 985 (E.D. Wash. 2020) (similar); United States v.
Caldera-Lazo, 535 F. Supp. 3d 1037 (E.D. Wash. 2011) (similar); United States v. Gonzales-Lopez,
No. CR-18-00213, 2020 WL 5210923 (N.D. Cal. Sep. 1, 2020) (similar); United States v. Alvarez-
Garcia, No. 4:19-cr-6033-SMJ, 2020 WL 3445026 (E.D. Wash. June 9, 2020) (similar); Steinberg
Decl., Ex. 9 (Slip Op., United States v. Sanchez-Figueroa, No. 3:19-cr-25 (D. Nev. July 25, 2019))
at 2, 9 (similar).
10
   Steinberg Decl. Ex. 4 (USCIRF 2016) at 21-22 (documenting that asylum seekers’ statements
were not read back to them, and that some were pressured to sign documents); see also Hartzler
Decl. ¶¶ 5-10.
11
   See Warden-Hertz Decl. ¶¶ 5, 7; Yang Decl. ¶ 8; Hartzler Decl. ¶¶ 5-6, 10.
                                                 23
     Case 1:25-cv-00190-JMC          Document 50-1        Filed 06/10/25      Page 26 of 48




errors and abuses underscore the inherent dangers of a system in which enforcement officers serve

as final adjudicators of most issues, with no review by a neutral decisionmaker.

       Fourth, there is a persistent lack of adequate interpretation and translation. Once again,

these errors can have devastating consequences in a process with no right to counsel or assistance

and no neutral review over most key questions. Providers report systemic interpretation failures,

leaving noncitizens unable to understand or communicate with government officials. See

Declaration of Gracie Willis (“Willis Decl.”) ¶¶ 7-8 (“numerous Mayan language speakers with

fear-based claims . . . had little to no understanding of what was happening in their case” due to

officers interviewing them in Spanish); Warden-Hertz Decl. ¶ 5 (150 Haitian men who, after being

detained for a month, had yet to have any immigration official communicate with them in

Creole). 12 Similarly, immigration officers have forced non-English speaking individuals to sign

expedited removal forms without providing translations. 13

       Fifth, the existing system does not provide for any review of the decision to refer—or not

refer—someone to an asylum officer for a credible fear interview. Multiple reports by the

Commission and others have documented systemic flaws in this phase of the process, with asylum

seekers who fear removal frequently denied credible fear interviews. See Steinberg Decl., Ex. 4

(USCIRF 2005) at 6, 53-55; id., Ex. 5 (USCIRF 2016) at 2 (noting some “officers’ outright

skepticism, if not hostility, toward asylum claims”); id. at 18-23; id., Ex. 6 (USCIRF 2025) at 11.




12
   See also Yang Decl. ¶ 9 (many people “received inadequate interpretation services during
expedited removal interviews”); Declaration of Laura Lunn (“Lunn Decl.”) ¶ 7 (same); Hartzler
Decl. ¶¶ 7-8 (same); Steinberg Decl., Ex. 5 (USCIRF 2016) at 28 (same); Schacher Decl. ¶¶ 8, 12-
13 (same); see also Steinberg Decl., Ex. 36 (DHS Advisory Comm. on Family Residential Ctrs.
2016) at 96-100 (discussing inadequate or nonexistent interpretation services during credible fear
interviews and IJ reviews).
13
   See Hartzler Decl. ¶¶ 7-8; Yang Decl. ¶ 8; Steinberg Decl., Ex. 7 (ACLU 2014) at 35-36; id.,
Ex. 33 (Borderland Immigr. Council 2017) at 13.
                                               24
     Case 1:25-cv-00190-JMC            Document 50-1        Filed 06/10/25       Page 27 of 48




Indeed, one Commission study found that in 15 percent of observed expedited removal cases,

when a noncitizen expressed a fear of return to an immigration officer during the inspections

process, the officer failed to refer the person to an asylum officer for a credible fear interview. See

Steinberg Decl., Ex. 4 (USCIRF 2005) (emphasis added). A separate study similarly found that

DHS erroneously failed to refer people who expressed fear of removal for credible fear interviews

“[i]n 12% of cases.” Steinberg Decl., Ex. 33 (Borderland Immigr. Council, 2017) at 12; see also

Steinberg Decl., Ex. 34 (Human Rights Watch 2014) at 6 (fewer than half of noncitizens

interviewed who expressed fear referred for credible fear interviews).

       Practitioners report the same persistent problem. 14 Officers frequently record apparently

“boilerplate language stating that individuals did not have a fear of return to their country of origin

or that they were coming to the United States to work.” Willis Decl. ¶ 5; see also Warden-Hertz

Decl. ¶ 6 (same); Yang Decl. ¶ 7 (same); Hartzler Decl. ¶ 11 (same). 15 In other cases, officers

actively interfere with noncitizens’ efforts to express fear of return. See Koop Decl. ¶ 30

(“[Nonprofit] has spoken to people who were reluctant to express a fear of return because they

experienced or witnessed violence and intimidation from CBP officers during the credible fear

process.”); Lunn Decl. ¶ 26 (officers told clients that “they are worthless, [that] they should give




14
   See Koop Decl. ¶ 22; Hartzler Decl. ¶ 14; Willis Decl. ¶ 9; Yang Decl. ¶¶ 4-6; Lunn Decl. ¶¶ 5-
6; see also Steinberg Decl., Ex. 35 (Nat’l Immigr. Justice Ctr., Nov. 13, 2014) at 12-22 (reporting
numerous instances in which “officials fail[ed] to capture [noncitizens’ fear of removal] in the
required documentation or include[d] mistaken information”).
15
   Immigration officers’ routine disregard of fear claims has increased in recent years under
policies that eliminated the normal requirement that officers ask noncitizens if they fear removal,
and instead required noncitizens to spontaneously “manifest” fear without being asked. See Koop
Decl. ¶ 25; see also Steinberg Decl., Ex. 6 (USCIRF 2025) at 3; id., Ex. 32 (Human Rights First,
Aug. 2024) at 4-5; id., Ex. 31 (Ctr. for Gender & Refugee Studies, Jan. 2024) at 1-2; Schacher
Decl. ¶¶ 6, 17. The latest imposition of this “manifestation of fear” requirement was recently
vacated as arbitrary and capricious. Las Americas Immigr. Advoc. Ctr. v. DHS, No. 24-cv-1702
(RC), 2025 WL 1403811, at *15-17, 21 (D.D.C. May 9, 2025).
                                               25
     Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25      Page 28 of 48




up, or [that] they have no chance of staying in the United States”); Yang Decl. ¶ 6 (officer told

client that “asylum does not exist [] anymore” and other clients were told that they could not apply

for asylum).

       Sixth, this risk of error extends to the credible fear interview stage. With no guarantee that

counsel can meaningfully participate, interviews are often truncated and unfair. See Steinberg

Decl., Ex. 12 (Congr. Testimony of Eleanor Acer, Human Rights First, Feb. 11, 2015) at 5

(“interviews are sometimes rushed, essential information is not identified due to lack of follow up

questions, and/or other mistakes are made that block genuine asylum seekers from even applying

for asylum and having a real chance to submit evidence and have their case fully considered”);

Schacher Decl. ¶ 7 (describing accelerated timeline that interferes with preparation and access to

counsel); id., Ex. 3 (Am. Immigr. Lawyers Ass’n, Dec. 24, 2015) (“USCIS’ negative fear

determinations are often flawed, with numerous substantive problems evident in the transcripts of

initial fear interviews.”); Willis Decl. ¶ 12 (describing numerous issues related to interviews);

Lunn Decl. ¶ 18 (interviews lacked safeguards); see also, e.g., Warden-Hertz Decl. ¶ 9 (describing

improper denial of credible fear and IJ review corrected only due to attorney intervention).

       Again, these flaws were already egregious in the border context. But applying expedited

removal to the interior will amplify these problems. At the border, in the mine run of cases, there

is little question whether a person is arriving in the United States, and whether they lack a visa or

other document as required to be subject to expedited removal. But under the Rule and Guidance,

people will be arrested at courthouses or off the street and subject to these summary procedures,

even though they may have lived in this country for years or may even be U.S. citizens. The

endemic flaws in expedited removal will mean that people like Plaintiffs Mary and John will be

summarily removed despite not being legally subject to expedited removal at all.


                                                 26
     Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25      Page 29 of 48




               3.      The Probable Value Of Additional Safeguards Is High And The
                       Government’s Interests Do Not Outweigh The Need For Them.

       Straightforward safeguards would mitigate the risk of error. Indeed, just last month, the

Supreme Court held that noncitizens facing removal under the Alien Enemies Act were entitled to

real, meaningful notice and an opportunity to be heard before they could be removed. See A.A.R.P.,

145 S. Ct. at 1367-68; J.G.G., 145 S. Ct. at 1006. The same is true of noncitizens facing removal

under the expedited removal statute. As explained supra, four basic safeguards would significantly

reduce the risk of error.

       First, noncitizens should be given greater notice of and an opportunity to rebut the

government’s charges against them and its adverse evidence. The Supreme Court held that

noncitizens facing removal under the Alien Enemies Act “must receive notice that they are subject

to removal under the Act within a reasonable time and in such a manner as will allow them to

actually seek habeas relief before removal.” A.A.R.P., 145 S. Ct. at 1368 (cleaned up). Those

noncitizens “must have sufficient time and information to reasonably be able to contact counsel,

file a petition, and pursue appropriate relief”; “notice roughly 24 hours before removal . . . surely

does not pass muster.” Id. The same is true here: Noncitizens facing expedited removal must be

given a reasonable opportunity to contest whether they are actually subject to expedited removal. 16




16
   Indeed, the government recognizes that other kinds of removal orders should not be immediately
executed, in order to give the noncitizen a chance to challenge them. Accord Deportation of Aliens
in the United States; Expulsion, 51 Fed. Reg. 23,041 (June 25, 1986) (recognizing that noncitizens
subject to deportation “will be held a minimum of 72 hours prior to removal by the Service, to
ensure that due process is accorded the detainee”); 8 C.F.R. § 241.33(b) (preventing execution of
removal order sooner than 72 hours after service of decision absent noncitizen’s waiver); 8 C.F.R.
§ 241.22 (same); 8 U.S.C. § 1228(b)(3) (automatically staying execution of administrative removal
order against noncitizens with aggravated felony convictions for 14 days unless waived by the
noncitizen).
                                                 27
     Case 1:25-cv-00190-JMC           Document 50-1         Filed 06/10/25      Page 30 of 48




        Second, immigration officers should also bear the burden of showing that the noncitizen

is not admitted or paroled, and of establishing removability. In light of the government’s superior

access to evidence, the potential speed of the process, and the fundamental rights at stake, it is

unfair to put this onus on the noncitizen. Cf. Santosky, 455 U.S. at 763.

       Third, the simple opportunity to engage in consultation—with family, friends, or counsel—

will also help ensure that noncitizens have a meaningful opportunity to gather evidence to

demonstrate that they are not properly subject to expedited removal, and to respond to the

government’s evidence. See Ardestani, 502 U.S. at 138 (explaining that “the complexity of

immigration procedures, and the enormity of the interests at stake, make legal representation in

deportation proceedings especially important”); Yiu Fong Cheung v. INS, 418 F.2d 460, 463 (D.C.

Cir. 1969) (discussing the importance of giving noncitizens in deportation proceedings the

“opportunity to consult with friends”).

       Finally, and most importantly, a neutral adjudicator such as an IJ should review the

questions of removability and applicability of expedited removal (including length of presence)

and whether the noncitizen has a fear of removal, as opposed to a low-level immigration

enforcement officer who acts as both prosecutor and judge. See Concrete Pipe & Prods. of Cal.,

Inc. v. Constr. Laborers Pension Tr. for S. Cal., 508 U.S. 602, 618 (1993) (where “an initial

determination” is “made by a party acting in an enforcement capacity,” due process requires the

right for “a neutral adjudicator to conduct a de novo review of all factual and legal issues” (cleaned

up)); Propert v. District of Columbia, 948 F.2d 1327, 1333-34 (D.C. Cir. 1991) (“requirement of

an unbiased decisionmaker” violated where “[t]he officer to whom appeal may be made is the

same officer who decides that the vehicle is ‘junk’ in the first place”).




                                                 28
     Case 1:25-cv-00190-JMC               Document 50-1    Filed 06/10/25      Page 31 of 48




       The government’s interest in removing people as quickly as possible cannot justify denying

these basic safeguards. Indeed, that is the fundamental lesson of the recent Supreme Court

decisions in the Alien Enemies Act cases. There, the government emphasized national security

interests in effectuating rapid removals, but the Court was clear that due process requires real

procedural protections—not meaningless procedures that do not afford an actual opportunity to

contest key questions. See A.A.R.P., 145 S. Ct. at 1368 (“We recognize the significance of the

Government’s national security interests as well as the necessity that such interests be pursued in

a manner consistent with the Constitution . . . . [But] notice roughly 24 hours before removal,

devoid of information about how to exercise due process rights to contest that removal, surely does

not pass muster.”). Indeed, the government too has an interest in the lawful and fair administration

of the immigration laws. Cf. Nken v. Holder, 556 U.S. 418, 436 (2009) (“Of course there is a public

interest in preventing aliens from being wrongfully removed, particularly to countries where they

are likely to face substantial harm.”).

       B.      Plaintiff Is Likely To Prevail On Its Claim That The Rule and Guidance
               Violate The Expedited Removal Statute As Interpreted To Require Adequate
               Procedures.

       Although the expansion of expedited removal is unconstitutional, this Court need not rule

on constitutional grounds. Instead, the Court can and should postpone the Rule and Guidance on

statutory grounds. Plaintiff is likely to prevail on its claim that the Rule and Guidance violate the

expedited removal statute which, as properly construed to avoid constitutional defects, requires

procedurally fair determinations. The constitutional avoidance canon “is a tool for choosing

between competing plausible interpretations of a statutory text, resting on the reasonable

presumption that Congress did not intend the alternative which raises serious constitutional doubts.”

Clark v. Martinez, 543 U.S. 371, 381 (2005). The “rule is particularly applicable to cases involving


                                                 29
     Case 1:25-cv-00190-JMC            Document 50-1        Filed 06/10/25       Page 32 of 48




due process challenges” because courts “assume a Congressional solicitude for fair procedure,

absent explicit statutory language to the contrary.” Gray Panthers v. Schweiker, 652 F.2d 146, 152

n.15 (D.C. Cir. 1980) (cleaned up).

       Courts have long construed removal statutes to require due process protections, even where

the statute does not expressly provide such safeguards. The very concept of a deportation hearing

arose when the Supreme Court read an early immigration statute to require a hearing in order to

avoid serious due process concerns. See Yamataya, 189 U.S. at 100-01. The statutes at issue in

Yamataya provided that immigration officers should “inspect” certain noncitizens arriving by sea

to determine their excludability; that those determinations “shall be final” absent administrative

appeal; and that the government could, “within one year after an alien of the excluded class entered

the country, . . . cause him to be taken into custody and returned to the country whence he came.”

Id. at 95, 99. The Court rejected a “rigid construction” of those statutes and held that they “do no[t]

necessarily exclude opportunity to the immigrant to be heard, when such opportunity is of right.”

Id. at 100; accord id. at 101 (statutory text did “not require an interpretation that would invest

executive or administrative officers with the absolute, arbitrary power” to deport noncitizens

without process); see also Wong Yang Sung v. McGrath, 339 U.S. 33, 49 (1950) (“It was under

compulsion of the Constitution that this Court long ago held that an antecedent deportation statute

must provide a hearing”).

       Since Yamataya, the Supreme Court has applied the constitutional avoidance canon to

“read significant limitations into other immigration statutes.” Zadvydas v. Davis, 533 U.S. 678,

689 (2001) (citing United States v. Witkovich, 353 U.S. 194, 195, 202 (1957)). For instance,

Witkovich addressed “a legislative scheme designed to govern and to expedite . . . deportation”

and, in particular, a provision requiring noncitizens awaiting deportation to provide the


                                                  30
     Case 1:25-cv-00190-JMC             Document 50-1       Filed 06/10/25      Page 33 of 48




government such information “as the Attorney General may deem fit and proper.” 353 U.S. at 195,

202. Applying the avoidance canon, the Court read that language to “limit the statute to authorizing”

only “questions reasonably calculated to keep the Attorney General advised regarding

[noncitizens’] continued availability for departure.” Id. at 202. Similarly, Zadvydas considered a

statute providing that a noncitizen “may be detained beyond the removal period.” 533 U.S. at 689

(internal quotation marks omitted). The Court explained that “the word ‘may’ is ambiguous,” id.

at 697, and applied the avoidance canon to “read an implicit limitation” into the statute that permits

“post-removal-period detention” only for a “reasonably necessary” period and prohibits “indefinite

detention,” id. at 689; accord Clark, 543 U.S. at 377; see also R.I.L-R v. Johnson, 80 F. Supp. 3d

164, 186-88, 190 (D.D.C. 2015) (applying canon to read due process limits into similar language

in immigration detention statute). 17

       Courts have read other essential due process safeguards into other immigration statutes.

The statutory requirement that noncitizens “shall have a reasonable opportunity to examine” and

“present evidence” in regular removal proceedings under 8 U.S.C. § 1229a(b)(4)(B) and its

precursors has long been interpreted to require protections such as interpretation at hearings,

Matter of Tomas, 19 I. & N. Dec. 464, 465-66 (BIA 1987), the “timely production of” adverse

evidence, Bondarenko v. Holder, 733 F.3d 899, 907 (9th Cir. 2013), and a neutral adjudicator, Tun

v. Gonzales, 485 F.3d 1014, 1025 (8th Cir. 2007).




17
   The Supreme Court and D.C. Circuit have applied the same principle to read basic due process
guardrails into statutes outside the immigration context. E.g., Greene v. McElroy, 360 U.S. 474,
507 (1959) (“Where administrative action has raised serious constitutional problems, the Court
has assumed that Congress or the President intended to afford those affected by the action the
traditional safeguards of due process.”); Gonzalez v. Freeman, 334 F.2d 570, 579 (D.C. Cir. 1964)
(“[W]e cannot agree that Congress intended to authorize [the penalty of debarment] without
regulations establishing standards and procedures and without notice . . . , hearings, and findings
pursuant thereto.”).
                                                31
     Case 1:25-cv-00190-JMC            Document 50-1        Filed 06/10/25       Page 34 of 48




       This Court should apply the same principle to interpret the expedited removal statute as

applied by the Rule to require fair determinations of whether, inter alia, the factual criteria for

expedited removal are met and a noncitizen is inadmissible based on the specified grounds, and to

ensure that there is an adequate opportunity to express fear of removal. The expedited removal

statute contains numerous ambiguous terms that make application of the constitutional avoidance

canon appropriate. See Gray Panthers, 652 F.2d at 152 & n.15 (applying avoidance canon where

statute did not “explicitly detail what process is due”); R.I.L-R, 80 F. Supp. 3d at 186 (“Although

the statute is silent as to what factors may be considered in making such determinations, the Court

must construe it with an eye toward avoiding ‘serious constitutional doubts.’”).

       For example, the statute provides that “[i]f an immigration officer determines that an

alien . . . who is arriving in the United States or is described in [§ 1225(b)(1)(A)](iii) is

inadmissible under section 1182(a)(6)(C) or 1182(a)(7) of this title, the officer shall order the alien

removed.” 8 U.S.C. § 1225(b)(1)(A)(i) (emphasis added). But the statutory text is ambiguous as

to the process by which immigration officers are to “determine” inadmissibility. Similarly, the

statute provides that a noncitizen “described in clause (iii),” id., is one “who has not been admitted

or paroled into the United States, and who has not affirmatively shown, to the satisfaction of an

immigration officer, that the alien has been physically present in the United States continuously

for [a] 2-year period,” id. § 1225(b)(1)(A)(iii)(II) (emphasis added). Again, the statute is

ambiguous on the procedures for making this showing “to the satisfaction of an immigration

officer.” Id. The statute is equally ambiguous as to the process for providing noncitizens an

opportunity to “indicate[] either an intention to apply for asylum under section 1158 of this title or

a fear of persecution.” Id. § 1225(b)(1)(A)(i).




                                                  32
     Case 1:25-cv-00190-JMC            Document 50-1        Filed 06/10/25       Page 35 of 48




       The government has acknowledged that the language of these provisions is ambiguous. See

89 Fed. Reg. 48,710, 48,740 (June 7, 2024) (“8 U.S.C. 1225(b)(1)(A) [] does not specify the

relevant aspects of the procedures that immigration officers must follow to determine whether a

noncitizen who is subject to expedited removal can be ordered removed or whether the noncitizen

must be referred to an [asylum officer] for a credible fear interview.”); id. (“Congress has not

provided a particular definition of the phrase ‘indicates . . . an intention.’”). In the government’s

view, this ambiguity “gives DHS discretion to employ the procedures it reasonably concludes are

appropriate.” Id. But “[t]he APA . . . specifies that courts, not agencies, will decide ‘all relevant

questions of law’ arising on review of agency action—even those involving ambiguous laws.”

Loper Bright Enters. v. Raimondo, 603 U.S. 369, 391-92 (2024) (internal citation omitted).

       Interpreting these provisions to permit expedited removal of people who have entered the

United States and lived here for up to two years using the same error-plagued procedures described

above raises grave constitutional questions. See supra Argument, Section I.A. It is “fairly possible”

to avoid those constitutional doubts by construing these ambiguous provisions to require more

robust safeguards. United States v. Hansen, 599 U.S. 762, 781 (2023) (quotation marks omitted).

And because the Court can construe the expedited removal statute’s ambiguous language to guard

against the kind of “absolute, arbitrary power” that the Rule and Guidance permit—and which

Defendants’ recent actions illustrate—it has a duty to do so. Yamataya, 189 U.S. at 101; see also,

e.g., United States v. X-Citement Video, Inc., 513 U.S. 64, 78 (1994) (it is “incumbent upon us to

read the statute to eliminate [constitutional] doubts so long as such a reading is not plainly contrary

to the intent of Congress”).




                                                  33
     Case 1:25-cv-00190-JMC           Document 50-1         Filed 06/10/25      Page 36 of 48




        C.     Plaintiff Is Likely To Prevail On Its Claim That Expedited Removal Cannot
               Lawfully Be Applied To Noncitizens In The Interior Based Solely On Lack Of
               Valid Entry Documents.
        Plaintiff is also likely to succeed in showing that the Rule violates the INA in a second

respect: the Rule is likely unlawful because it subjects people who have already entered the United

States to expedited removal under 8 U.S.C. § 1182(a)(7).

        By statute, expedited removal can only be applied to noncitizens who are inadmissible on

one of two grounds: 8 U.S.C. § 1182(a)(6)(C) or § 1182(a)(7). 8 U.S.C. § 1225(b)(1)(A)(i). Section

1182(a)(6)(C) concerns noncitizens seeking to procure immigration status via fraud or who falsely

claim U.S. citizenship. Section 1182(a)(7), entitled “Documentation Requirements,” applies to

noncitizens who, “at the time of application for admission,” lack a valid visa, “border crossing

identification card, or other valid entry document.” The Rule explicitly “enables” DHS to subject

noncitizens who have already entered the United States, including those who entered up to two

years earlier, to expedited removal if they are “determined to be inadmissible” under either

provision. 90 Fed. Reg. at 8,139. But § 1182(a)(7) does not apply to those who have already entered

the United States because it applies only at “the time when a noncitizen seeks permission to

physically enter United States territory.” Torres v. Barr, 976 F.3d 918, 924 (9th Cir. 2020) (en

banc). 18

        This is made clear by both the statute’s plain language and context. By its plain terms, §

1182(a)(7) applies only to a noncitizen who lacks a valid entry document at a specific moment:


18
  Subsequently, in United States v. Gambino-Ruiz, the Ninth Circuit held that a noncitizen who
was “detained near the border shortly after he crossed it,” under the 14-day limitation in place prior
to the Rule, could be subjected to expedited removal under § 1182(a)(7). 91 F.4th 981, 990 (9th
Cir. 2024). Gambino-Ruiz is not persuasive for the reasons set forth in Plaintiff’s Response to
Defendants’ Motion to Dismiss. See ECF 44 at 34. Moreover, the court in Gambino-
Ruiz reaffirmed its holding in Torres that “‘stretching the phrase ‘at the time of application for
admission’ to refer to a period of years would push the statutory text beyond its breaking point.’”
Gambino-Ruiz, 91 F.4th at 990 (quoting Torres, 976 F.3d at 926).
                                                 34
     Case 1:25-cv-00190-JMC           Document 50-1         Filed 06/10/25      Page 37 of 48




“at the time of application for admission.” 8 U.S.C. § 1182(a)(7)(A)(i) (emphasis added). 19 Section

1182(a)(7) uses the phrase “at the time of application for admission” in connection with requiring

a valid “entry document” to lawfully cross the border: the noncitizen must possess “a valid

unexpired immigrant visa, reentry permit, border crossing identification card, 20 or other valid entry

document.” Id. § 1182(a)(7)(A)(i)(I) (emphasis added). It has a similar requirement for a valid

“travel document”: the noncitizen must possess a “valid unexpired passport, or other suitable travel

document, or document of identity and nationality if such document is required under the

regulations issued . . . under section 1181(a).” Id. (emphasis added). Section 1181(a) likewise

concerns documents used to cross into the United States. See 8 U.S.C. § 1181(a). Thus, “the most

logical reading of [the] phrase [‘at the time of application for admission’] is that it refers to the

moment of applying for entry into the country.” Torres, 976 F.3d at 925. 21

       Statutory context confirms § 1182(a)(7)’s temporal focus on the moment of entry into the

United States. In contrast, a neighboring ground of inadmissibility, § 1182(a)(6)(A), renders

inadmissible a noncitizen who is “present in the United States without being admitted or paroled.”

8 U.S.C. § 1182(a)(6)(A)(i) (emphasis added). Congress chose not to make mere presence a basis




19
   Several of the INA’s inadmissibility provisions use the phrase “at the time of,” each referring to
a specific time when a noncitizen must meet a certain condition. See, e.g., 8 U.S.C. § 1182(a)(4)(A)
(inadmissible if “at the time of” his application for a visa, admission, or adjustment of status,
person “is likely . . . to become a public charge”); id. § 1182(a)(5)(A)(i)(I) (inadmissible if
noncitizen seeks to work without certification that there were insufficient workers to fill the same
job “at the time of [the noncitizen]’s application for a visa and admission”); id. §
1182(a)(6)(C)(ii)(II) (inadmissible if noncitizen falsely claimed citizenship unless she “reasonably
believed at the time of making such representation” that she was citizen).
20
   A “border crossing identification card” is a document issued for the “purpose of crossing over
the borders between the United States and foreign contiguous territory.” 8 U.S.C. § 1101(a)(6).
21
   This interpretation is consistent with how the INA elsewhere uses the term “application for
admission.” See 8 U.S.C. § 1361 (placing burden of demonstrating admissibility on noncitizen
who “makes application for a visa or any other document required for entry, or makes application
for admission, or otherwise attempts to enter the United States”).
                                                 35
     Case 1:25-cv-00190-JMC           Document 50-1         Filed 06/10/25      Page 38 of 48




for inadmissibility under § 1182(a)(7), focusing instead on the moment when the person applies to

enter the country. Congress’s choice makes clear that it did not intend for expedited removal to

apply to people who are present in the United States without valid entry documents. Had Congress

wanted to do so, it had a straightforward option: listing the neighboring provision at §

1182(a)(6)(A) as a basis for expedited removal. Cf. Kucana v. Holder, 558 U.S. 233, 248 (2010)

(“If Congress wanted the jurisdictional bar to encompass decisions specified as discretionary by

regulation along with those made discretionary by statute . . . Congress could easily have said so.”).

       Under this correct construction of the statute, Defendants remain free to charge noncitizens

with inadmissibility under § 1182(a)(7) if they are apprehended at the border without valid entry

documents. And as to noncitizens in the interior who have been here for less than two years, the

statute still allows the government to apply expedited removal to those who are inadmissible for

fraud under § 1182(a)(6)(C), which is not limited to fraud at entry. But Defendants cannot do what

the Rule explicitly purports to “enable”: They cannot “place in expedited removal” noncitizens

“determined to be inadmissible under” § 1182(a)(7) who have already entered the United States

and have been present for up to two years. See 90 Fed. Reg. at 8,139.

       Finally, the canon of constitutional avoidance resolves any remaining doubt that Plaintiff’s

construction must be adopted. An interpretation of the phrase “at the time of application for

admission” in § 1182(a)(7) that would permit noncitizens who have already entered and been

present in the United States for up to two years based solely on their lack of valid entry documents

raise serious due process problems. See supra Argument, Section I.A. Because Plaintiff’s reading

of the statute is “fairly possible” and avoids the constitutional question as to this group of people,

the Court should adopt it. See Hansen, 599 U.S. at 781 (internal quotation marks omitted).




                                                 36
     Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25      Page 39 of 48




       D.      Plaintiff Is Likely To Prevail On Its Claim That Expedited Removal Cannot
               Lawfully Be Applied To Affirmative Asylum Applicants.
       Plaintiff is also likely to succeed in showing that the Guidance is contrary to the asylum

regulations because it applies expedited removal to affirmative asylum applicants. The regulations

implementing the asylum statute, 8 U.S.C. § 1158, grant jurisdiction over affirmative asylum

applications to USCIS. Those regulations permit placing affirmative asylum applicants in

expedited removal in only one specific circumstance. Yet the Guidance applies expedited removal

to all persons covered by the Rule’s designation—even if they have filed an affirmative asylum

application. See Steinberg Dec., Ex. 2 (Guidance) at 2 (stating that an “alien who has applied for

asylum” will be considered for expedited removal). The Guidance thus violates the Accardi

doctrine, which “requires federal agencies to follow their own rules.” Steenholdt v. Fed. Aviation

Admin., 314 F.3d 633, 639 (D.C. Cir. 2003) (citing United States ex rel. Accardi v. Shaughnessy,

347 U.S. 260 (1954)).

       The asylum regulations exempt most affirmative asylum seekers from expedited removal.

The regulations provide that “USCIS shall have initial jurisdiction over” any “asylum application

filed by an alien physically present in the United States.” 8 C.F.R. § 208.2(a)(1). The regulations

further provide that “USCIS shall adjudicate the claim of each asylum applicant whose application

is complete,” id. § 208.9(a) (emphasis added), by means of an interview by an asylum officer, id.

§ 208.9(b). After that interview, the asylum seeker generally receives one of two outcomes. First,

the asylum officer may grant the application. Id. § 208.14(b). Second, where the officer does not

grant asylum and concludes that the asylum seeker “appears to be inadmissible or deportable under

[8 U.S.C. § 1182(a) or § 1227(a)], the officer “shall refer the application to an [IJ], together with

the appropriate charging document, for adjudication in [regular] removal proceedings.” 8 C.F.R.



                                                 37
     Case 1:25-cv-00190-JMC              Document 50-1     Filed 06/10/25      Page 40 of 48




§ 208.14(c)(1) (emphasis added). Thus, for most affirmative applicants, the regulations never

provide that they can be placed into expedited removal.

       The regulations permit an affirmative applicant to be placed in expedited removal in only

one situation: where the asylum seeker was previously paroled into the United States and their

parole has expired or been terminated. Id. § 208.14(c)(4)(ii). 22 For such asylum seekers, where the

asylum officer does not grant asylum and finds that the asylum seeker is inadmissible under 8

U.S.C. § 1182(a)(6) or § 1182(a)(7), the officer will “proceed in accordance with” the expedited

removal regulations. 8 C.F.R. § 208.14(c)(4)(ii)(A) (citing id. § 235.3(b)). 23 By applying expedited

removal to people outside this specific class, the Guidance is contrary to the regulations. See

Nasdaq Stock Market LLC v. SEC, 38 F.4th 1126, 1137 (D.C. Cir. 2022) (“[m]ention of one thing”

“implies exclusion of another thing”); see also Doe v. SEC, 28 F.4th 1306, 1314 (D.C. Cir. 2022)

(applying this canon to a regulation).

       This understanding of the regulations is consistent with the statutory scheme. 8 U.S.C.

§ 1158 provides that a noncitizen may apply for asylum “in accordance with this section [§ 1158]

or, where applicable, section 1225(b) of this title.” Id. § 1158(a)(1) (emphasis added). Section

1158 further provides that “[t]he Attorney General shall establish a procedure for the consideration

of asylum applications filed under [this section],” id. § 1158(d)(1), and that such applications are


22
   See 8 U.S.C. § 1182(d)(5)(A) (authorizing the DHS Secretary to “parole into the United States
temporarily . . . only on a case-by-case basis for urgent humanitarian reasons or significant public
benefit any alien applying for admission”). The regulation does not apply to noncitizens who were
granted “advance parole”—i.e., a form of authorization to travel from and return lawfully to the
United States. See 8 C.F.R. § 208.14(c)(4)(ii).
23
   In Doe v. Noem, a class action challenging DHS’s termination of certain parole programs, the
court held that individuals whose parole has been terminated or expired are not subject to expedited
removal under 8 U.S.C. § 1225(b)(1)(A)(iii)(II). --- F. Supp. 3d ----, 2025 WL 1099602, at *16 (D.
Mass. Apr. 14, 2025), order stayed pending appeal sub nom. Noem v. Doe, 605 U.S. ---, 2025 WL
1534782 (U.S. May 30, 2025). This Court need not address this issue in this case as Plaintiff asks
only that the Court find the Guidance in violation of the asylum regulations.
                                                  38
     Case 1:25-cv-00190-JMC           Document 50-1         Filed 06/10/25      Page 41 of 48




to receive “final administrative adjudication” following an “interview” or “hearing,” id. §

1158(d)(5)(A)(ii)-(v). The regulations implement these adjudications by assigning them,

respectively, to asylum officers and IJs in regular removal proceedings. See 8 C.F.R. § 208.2(a)(1),

(b). By contrast, the expedited removal statute, 8 U.S.C. § 1225(b)(1), provides a distinct

procedure—the credible fear process—by which noncitizens may apply for asylum, “where

applicable, [under] section 1225(b).” 8 U.S.C. § 1158(a)(1).

       Because affirmative applicants have already applied in accordance with § 1158, they are

not applying under § 1225(b). See In re Espy, 80 F.3d 501, 505 (D.C. Cir. 1996) (“[A] statute

written in the disjunctive is generally construed as setting out separate and distinct alternatives.”)

(cleaned up). This reading also makes sense: the credible fear process was designed as an initial

screening process meant primarily for “newly-arrived” asylum seekers at or near the border. See

Grace v. Barr, 965 F.3d 883, 887 (D.C. Cir. 2021). Nothing in the statutory scheme suggests

Congress sought to apply that screening process to people who already have applied for asylum

affirmatively.

       Re-routing affirmative asylum applicants into expedited removal has significant

consequences. The credible fear process provides far fewer protections than the affirmative one.

An affirmative applicant may file an asylum application directly with USCIS. 8 C.F.R. §

208.2(a)(1). The applicant receives 21 days’ notice of a non-adversarial interview, where they may

have counsel present and may present witnesses and affidavits or other evidence, id. § 208.9(b),

and may be granted asylum thereafter, id. § 208.14(b). By contrast, in the credible fear process,

the asylum seeker must raise their asylum claim as a defense against expedited removal. See 8

U.S.C. § 1225(b)(1)(A)(ii). The applicant is generally detained, see 8 C.F.R. § 235.3(b)(4)(ii),

limiting their access to counsel and ability to prepare their case, particularly since the interview


                                                 39
     Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25      Page 42 of 48




can occur as little as 24 hours after the noncitizen is given notice of it—even if they do not yet

“have access to a phone,” and even though “a significant share of the 24-hour period occurs

overnight, when fewer people [will] likely be available to take calls.” 89 Fed. Reg. at 81,197. 24

Asylum seekers generally participate in credible fear interviews by phone, Steinberg Decl. Ex. 6

(USCIRF 2025) at 7, even though asylum officers must evaluate their credibility, 8 U.S.C.

§ 1225(b)(1)(B)(v). And even when the asylum seeker passes the credible fear interview, they are

merely placed into regular removal proceedings before an IJ, where they must continue to litigate

their application. See 8 U.S.C. § 1225(b)(1)(B)(ii); 8 C.F.R. § 235.3(c).

       Finally, even assuming the regulations could be read to allow for the general placement of

affirmative applicants into expedited removal, the Guidance would still be arbitrary and capricious

for three reasons. First, the Guidance “failed to consider . . . important aspects of the problem.”

See Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 591 U.S. 1, 25 (2020) (cleaned up).

Apart from a vague and conclusory statement in the Guidance 25 Defendants never even

acknowledge, much less explain, that placing affirmative applicants into expedited removal is a

significant change in policy, or that, at a minimum, there is significant tension between doing so

and the regulations governing the adjudication of affirmative asylum claims. See FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 515 (2009) (holding that the agency must “display

awareness that it is changing position” and “may not . . . depart from a prior policy sub silentio or

simply disregard rules that are still on the books”); accord Grace, 965 F.3d at 900. Second,




24
   DHS’s attempt to shorten the consultation window even further, to as little as four hours, was
recently vacated as arbitrary and capricious. Las Americas Immigr. Advoc. Ctr., 2025 WL 1403811,
at *19-21.
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   See Steinberg Dec., Ex. 2 (Guidance) at 2 (“Further, the expedited removal process includes
asylum screening, which is sufficient to protect the reliance interests of any alien who has applied
for asylum or planned to do so in a timely manner.”).
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      Case 1:25-cv-00190-JMC         Document 50-1         Filed 06/10/25     Page 43 of 48




Defendants failed to account for the reliance interests that asylum seekers have in the greater

procedural protections provided by the affirmative asylum system. See Regents, 591 U.S. at 30-33.

And third, Defendants failed to consider alternatives within the ambit of existing policy—namely,

exempting affirmative asylum applicants from expedited removal, as the regulations contemplate.

See id. at 32-33.

II.    Absent Postponement, Plaintiff’s Members Will Suffer Irreparable Harm.

       The new Rule and Guidance make far-reaching changes that will cause Plaintiff Make the

Road New York’s members irreparable harm. Plaintiff’s members face the prospect of summary

removal pursuant to flawed and illegal expedited removal procedures. Plaintiff is a membership-

based organization that has thousands of noncitizen members, many of whom have been subject

to enforcement activities by DHS. Fontaine Decl. ¶¶ 13, 15. Plaintiff has identified at least six

members who could be placed in expedited removal proceedings pursuant to the Rule, because

they entered without inspection, and have been continuously present in the United States for less

than two years. Id. ¶¶ 17-25, 40-42. Plaintiff also has other members who have been living in the

United States for longer than two years and who could be erroneously subject to expedited removal

because they do not have or know what documents they could use to show their legal status or

their continuous presence, and do not know when and how they would be able to access this crucial

information if they encounter an immigration officer at work, on the street, or at a courthouse. See

id. ¶¶ 18, 41-43.

       Furthermore, Plaintiff has members with upcoming immigration court dates whose cases

DHS is likely to try to dismiss, and whom ICE may try to arrest and swiftly deport. See id. ¶¶ 19-

26, 29 (discussing these members and explaining that “the campaign to target individuals attending

their immigration court proceedings for placement into expedited removal and detention by ICE


                                                41
       Case 1:25-cv-00190-JMC        Document 50-1       Filed 06/10/25      Page 44 of 48




has sent shock waves through [Make the Road New York’s] members and the communities that

we serve”). In fact, even in the early days of Defendants’ new practice, DHS has already tried to

dismiss the cases of Plaintiff’s members. See id., Ex. A (John Doe 4 Decl.) ¶ 4 (member recounting

that at his May 30, 2025 immigration court hearing, “the attorney for the government wanted to

end [his] case” but the IJ instead reset the hearing to August). Other members—even those who

are not susceptible to dismissal, arrest, and deportation under the new policy—are scared to show

up to court, which could result in an in absentia removal order. See id., Ex. B (Jane Doe 2 Decl.)

¶ 6; see generally Rowland-Kain Decl. ¶ 17; Gilliam Decl. ¶¶ 24-26. Thus, absent a stay, the Rule

and Guidance will cause irreparable harm to Make the Road New York.

III.    The Balance of Equities and the Public Interest Strongly Favor Postponement of
        Defendants’ Actions.

        The remaining factors decisively favor Plaintiff. The public interest strongly favors

postponement, as countless people living in the United States with their families, including U.S.

citizen spouses and young children, are being swiftly detained and deported pursuant to a

procedure that flouts core due process guarantees and denies them any opportunity to pursue

immigration relief, including asylum. See Fontaine Decl. ¶ 29 (describing recent detention of a

“19-year old,” “a couple who . . . had children at home,” “a man . . . [who] did not have vital

medication with him; and a same-sex couple pulled from each others’ arms”); Levenson Decl. ¶¶

18-24 (describing detention of asylum seeker whose partner was eight months pregnant, gay

couple who feared persecution, and asylum seeker married to a U.S. citizen); Dojaquez-Torres

Decl. ¶ 11 (detainees include families with children as young as two and three years old, and ICE

attempted to detain a mother with a nursing infant); Yang Decl. ¶ 16 (detention of “whole family

units, including adults and their minor children”). These sudden arrests, detentions, and

deportations cause immeasurable harm to noncitizens, who are suddenly detained, separated from

                                               42
     Case 1:25-cv-00190-JMC           Document 50-1        Filed 06/10/25      Page 45 of 48




their families, and deported. See Fontaine Decl. ¶¶ 31(“[m]any people have begun shaking or

crying” upon their arrest); Levenson Decl. ¶ 15 (describing “true panic and horror on . . . faces” of

noncitizens, one of whom “appeared to have a panic attack”); Eugenio Decl. ¶ 15 (describing

noncitizens who were suddenly detained and had “a physical and emotional defeat in their body

language that I will never unsee”); Cortes Decl. ¶¶ 4-5 (“people were in tears and shaking” and a

family member “broke down in tears and expressed concern because [a detained individual] had

not brought important prescription medication for his eyes.”); Botsch Decl. ¶ 5 (describing the

case of a Cuban man who was arrested and who started strangling himself and yelling that he

would rather kill himself than be sent back to Cuba); see also Fontaine Decl. ¶ 33 (explaining how

“[t]he experience of seeing individuals . . . some of whom had children at home or had not brought

vital medication with them—being surrounded, handcuffed, and detained without warning or

explanation has been deeply disturbing to [Make the Road New York] attorneys,” “[s]everal of

[whom have] broke[n] down in tears” and “have suffered difficulty sleeping”). And these sudden

arrests and deportations are especially harmful to asylum seekers, who face removal to countries

where they fear persecution. See Fontaine Decl. ¶¶ 30, 32 (arrest and detention of asylum seekers;

Levenson Decl. ¶¶ 18-24 (same); Cortes Decl. ¶ 9 (same); Umana Decl. ¶ 9 (same). Defendants’

practices are harmful not only to those detained and deported, but also to many more noncitizens

who are not showing up to immigration court for fear that they will be detained, and who are

consequently being ordered removed in absentia, even where they may have immigration relief

available to them. See Rowland-Kain Decl. ¶ 17 (significant decrease in noncitizens who came to

court in days following courthouse arrests); Gilliam Decl. ¶¶ 24-26 (“unusually large number of

in absentia removal orders” following courthouse arrests).




                                                 43
     Case 1:25-cv-00190-JMC          Document 50-1         Filed 06/10/25     Page 46 of 48




       Defendants cannot point to any harm that could outweigh that experienced by noncitizens

who are detained and swiftly deported in violation of their due process rights. Indeed, as explained

supra, Argument, Section I.A.3, the government shares Plaintiff’s interest in the effective and fair

administration of the immigration laws and in preventing erroneous removals. Cf. Nken, 556 U.S.

at 436. Moreover, the government already provides safeguards similar to, and even beyond, those

described above to all noncitizens in regular removal proceedings. See generally 8 U.S.C. § 1229a.

Conversely, while the Rule and Guidance remain in effect, countless people living in the United

States with their families could be deported pursuant to a procedure that flouts core due process

guarantees. Finally, the public interest strongly favors postponement under § 705, as “[t]he public

interest is served when administrative agencies comply with their obligations under the APA.” N.

Mariana Islands v. United States, 686 F. Supp. 2d 7, 21 (D.D.C. 2009).

                                         CONCLUSION

       For the foregoing reasons, this Court should grant Plaintiff’s motion to postpone the

effective dates of the Rule and Guidance pending adjudication of this case on the merits.



Dated: June 10, 2025                             Respectfully submitted,

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    Case 1:25-cv-00190-JMC         Document 50-1      Filed 06/10/25    Page 47 of 48




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     Case 1:25-cv-00190-JMC          Document 50-1        Filed 06/10/25      Page 48 of 48




                                CERTIFICATE OF SERVICE

       I hereby certify that on June 10, 2025, I electronically filed the foregoing with the Clerk

of the Court for the United States District Court for the District of Columbia by using the

CM/ECF system. I certify that all participants in the case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.



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                                                46
